            Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK


 IAN FOLEY,                                                 Civil Action No.

                        Plaintiff,

         v.                                                 COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
 JORDAN OUTDOOR ENTERPRISES, LTD. dba
 REALTREE,

                        Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       IAN FOLEY (“Plaintiff”), by and through undersigned counsel, seeks a permanent

injunction requiring a change in JORDAN OUTDOOR ENTERPRISES, LTD. dba

REALTREE’s (“Realtree”, and “Defendant”) corporate policies to cause its website to become,

and remain, accessible to individuals with visual disabilities. In support thereof, Plaintiff

respectfully asserts as follows:

                                        INTRODUCTION

       1.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA
       applies to public accommodations’ websites over 20 years ago. This interpretation
       is consistent with the ADA’s title III requirement that the goods, services,
             Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 2 of 16




        privileges, or activities provided by places of public accommodation be equally
        accessible to people with disabilities.1

        2.      Plaintiff Ian Foley has retinitis pigmentosa, a degenerative retinopathy disease

which has progressed over 30 years. He is legally blind, and now close to totally blind. To

prepare for total blindness, Plaintiff uses screen-reading technology called Fusion. The Fusion

program provides both ZoomText, with screen magnification and visual enhancements for screen

viewing ease, and JAWS for screen-reading functionality. Plaintiff uses Fusion to navigate the

internet.

        3.      Screen-reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

        The screen reading software uses auditory cues to allow a visually impaired user
        to effectively use websites. For example, when using the visual internet, a seeing
        user learns that a link may be “clicked,” which will bring her to another webpage,
        through visual cues, such as a change in the color of the text (often text is turned
        from black to blue). When the sighted user's cursor hovers over the link, it
        changes from an arrow symbol to a hand.

        The screen reading software uses auditory—rather than visual—cues to relay this
        same information. When a sight impaired individual reaches a link that may be
        “clicked on,” the software reads the link to the user, and after reading the text of
        the link says the word “clickable.”…Through a series of auditory cues read aloud
        by the screen reader, the visually impaired user can navigate a website by
        listening and responding with her keyboard.

Id. at *6-7.2


1
         See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last
accessed November 14, 2019).
2
         See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed November 14, 2019) (discussing
screen readers and how they work).
                                                 2
            Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 3 of 16




       4.      Defendant is a leader in the design, development, manufacture, and distribution of

apparel, gear, and similar products, under its recognized brand Realtree.

       5.      Consumers may purchase Defendant’s products and access other brand-related

content and services at https://store.realtree.com/, (“Website”), the Website Defendant owns,

operates, and controls.3

       6.      In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Website to

contact customer service by phone and email, find local retailers, sign up to receive product

updates, product news, and special promotions, review important legal notices like Defendant’s

Privacy Policy and Terms and Conditions, track online orders, and more.4

       7.      Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

       8.      Unfortunately, Defendant denies approximately 8.1 million5 Americans who have

difficulty seeing access to its Website’s goods, content, and services because the Website is

largely incompatible with the screen-reader programs these Americans use to navigate an

increasingly e-commerce world.




3
        Realtree Privacy Policy, available at https://www.realtree.com/web-site-policies (last
accessed November 15, 2019).
4
        See, e.g., Realtree Home Page, available at https://store.realtree.com/ (last accessed
November 15, 2019).
5
        Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in
the U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA
(Jul. 25, 2012), available at
https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-134.html (last accessed
November 15, 2019) (“About 8.1 million people had difficulty seeing, including 2.0 million who
were blind or unable to see.”).
                                                3
            Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 4 of 16




       9.       Plaintiff brings this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of

its services, facilities, privileges and advantages; (2) provide such persons with benefits that are

equal to those provided to nondisabled persons; (3) provide auxiliary aids and services—

including electronic services for use with a computer screen-reading program—where necessary

to ensure effective communication with individuals with a visual disability, and to ensure that

such persons are not excluded, denied services, segregated, or otherwise treated differently than

sighted individuals; and (4) utilize administrative methods, practices, and policies that provide

persons with disabilities equal access to online content.

       10.      By failing to make its Website available in a manner compatible with computer

screen-reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       11.      Because Defendant’s Website is not and has never been fully accessible, and

because upon information and belief Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its Website to become and remain

accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring

Defendant to:

             a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
                Consultant”) who shall assist in improving the accessibility of their Website,
                including all third-party content and plug-ins, so the goods and services on the
                Website may be equally accessed and enjoyed by individuals with vision related
                disabilities;



                                                   4
Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 5 of 16




b) Work with the Web Accessibility Consultant to ensure all employees involved in
   website and content development be given web accessibility training on a biennial
   basis, including onsite training to create accessible content at the design and
   development stages;

c) Work with the Web Accessibility Consultant to perform an automated
   accessibility audit on a periodic basis to evaluate whether Defendant’s Website
   may be equally accessed and enjoyed by individuals with vision related
   disabilities on an ongoing basis;

d) Work with the Web Accessibility Consultant to perform end-user
   accessibility/usability testing on at least a quarterly basis with said testing to be
   performed by humans who are blind or have low vision, or who have training and
   experience in the manner in which persons who are blind use a screen reader to
   navigate, browse, and conduct business on websites, in addition to the testing, if
   applicable, that is performed using semi-automated tools;

e) Incorporate all of the Web Accessibility Consultant’s recommendations within
   sixty (60) days of receiving the recommendations;

f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
   that will be posted on its Website, along with an e-mail address, instant
   messenger, and toll-free phone number to report accessibility-related problems;

g) Directly link from the footer on each page of its Website, a statement that
   indicates that Defendant is making efforts to maintain and increase the
   accessibility of its Website to ensure that persons with disabilities have full and
   equal enjoyment of the goods, services, facilities, privileges, advantages, and
   accommodations of the Defendant through the Website;

h) Accompany the public policy statement with an accessible means of submitting
   accessibility questions and problems, including an accessible form to submit
   feedback or an email address to contact representatives knowledgeable about the
   Web Accessibility Policy;

i) Provide a notice, prominently and directly linked from the footer on each page of
   its Website, soliciting feedback from visitors to the Website on how the
   accessibility of the Website can be improved. The link shall provide a method to
   provide feedback, including an accessible form to submit feedback or an email
   address to contact representatives knowledgeable about the Web Accessibility
   Policy;

j) Provide a copy of the Web Accessibility Policy to all web content personnel,
   contractors responsible for web content, and Client Service Operations call center
   agents (“CSO Personnel”) for the Website;

k) Train no fewer than three of its CSO Personnel to automatically escalate calls
   from users with disabilities who encounter difficulties using the Website.

                                      5
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 6 of 16




                Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
                such users with disabilities within CSO published hours of operation. Defendant
                shall establish procedures for promptly directing requests for assistance to such
                personnel including notifying the public that customer assistance is available to
                users with disabilities and describing the process to obtain that assistance;

             l) Modify existing bug fix policies, practices, and procedures to include the
                elimination of bugs that cause the Website to be inaccessible to users of screen
                reader technology;

             m) Plaintiff, his counsel, and their experts monitor the Website for up to two years
                after the Mutually Agreed Upon Consultant validates the Website are free of
                accessibility errors/violations to ensure Defendant has adopted and implemented
                adequate accessibility policies. To this end, Plaintiff, through his counsel and their
                experts, shall be entitled to consult with the Web Accessibility Consultant at their
                discretion, and to review any written material, including but not limited to any
                recommendations the Website Accessibility Consultant provides Defendant.

       12.      Web-based technologies have features and content that are modified on a daily,

and in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not

cause the website to remain accessible without a corresponding change in corporate policies

related to those web-based technologies. To evaluate whether an inaccessible website has been

rendered accessible, and whether corporate policies related to web-based technologies have been

changed in a meaningful manner that will cause the website to remain accessible, the website

must be reviewed on a periodic basis using both automated accessibility screening tools and end

user testing by disabled individuals.

                                  JURISDICTION AND VENUE

       13.      The claims alleged arise under Title III such that this Court’s jurisdiction is

invoked pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.      Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by performing business over the Internet. Through its Website, Defendant entered

into contracts for the sale of its products and services with residents of New York. These online

sales contracts involve, and indeed require, Defendant’s knowing and repeated transmission of

                                                   6
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 7 of 16




computer files over the Internet. See Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287

(D. Mass. Dec. 4, 2017) (exercising personal jurisdiction over forum plaintiff’s website

accessibility claims against out-of-forum website operator); Access Now, Inc. v. Sportswear, Inc.,

298 F.Supp.3d 296 (D. Mass. 2018) (same).

       15.     Plaintiff was injured when he attempted to access Defendant’s Website from his

home in this District but encountered barriers that denied him full and equal access to

Defendant’s online goods, content, and services.

       16.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s

claim occurred.

                                              PARTIES

       17.     Plaintiff Foley is and, at all times relevant hereto, has been a resident of Buffalo,

New York, located in Erie County. Plaintiff is and, at all times relevant hereto, has been legally

blind and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and

the regulations implementing the ADA set forth at 28 CFR §§ 36.101et seq.

       18.     Plaintiff asserts that Defendant Realtree is a Georgia corporation with its principal

place of business at 1390 Box Circle, Columbus, GA 31907.

                           FACTS APPLICABLE TO ALL CLAIMS

       19.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals




                                                   7
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 8 of 16




with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

                                DEFENDANT’S ONLINE CONTENT

       20.     Defendant’s Website allows consumers to research and participate in Defendant’s

services and products from the comfort and convenience of their own homes.

       21.     The Website also enables consumers to contact customer service by phone and

instant messenger, find local retailers, sign up to receive product updates, product news, and

special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions, track online orders, and more.

       22.     Consumers may use the Website to connect with Defendant on social media,

using sites like Facebook, Twitter, Instagram, and YouTube.

                                     HARM TO PLAINTIFF
       23.     Plaintiff attempted to access the Website from his home in Buffalo, New York.

Unfortunately, because of Defendant’s failure to build the Website in a matter that is compatible

with screen-reader programs, Plaintiff is unable to understand, and thus is denied the benefit of,

much of the content and services he wishes to access on the Website. For example:

               a.      Defendant’s Website is so constructed that the Add Coupon and Add

Certificate elements do not have the correct role. The elements, without an appropriate role, are

excluded from normal navigation and a screen-reader user may not know how or where to access

them. This leaves a blind user potentially unaware that these buttons exist and causes them to

miss out on deals that are available to sighted users.




                                                  8
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 9 of 16




               b.      Defendant’s Website does not have a skip-to-content function. The result

is that screen-reader users must hear all navigational elements and features every time they visit

a new page or refresh an existing page. The navigation elements, for the keyboard focus order,

are repeated twice and the user has to go through 45 focusable elements to reach the main

content of the page. If this website conformed to the guidelines, a screen-reader user could visit

their desired page section with a single press of the key.




                                                 9
         Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 10 of 16




               c.      Defendant’s Website is so constructed that screen-reader users are not

informed if an item has been successfully added to the cart. When the status message is

displayed, the focus remains on the ADD TO CART button and a screen-reader user is not

informed that their action was successful. It may appear to a screen-reader user that the button is

not working since the only notification is displayed visually.




       24.     These barriers, and others, deny Plaintiff full and equal access to all of the

services the Website offers, and now deter him from attempting to use the Website. Still,

Plaintiff would like to, and intends to, attempt to access the Website in the future to research the

products and services the Website offer, or to test the Website for compliance with the ADA.

       25.     If the Website was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.




                                                 10
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 11 of 16




        26.       Though Defendant may have centralized policies regarding the maintenance and

operation of the Website, Defendant has never had a plan or policy that is reasonably calculated

to make the Website fully accessible to, and independently usable by, individuals with vision

related disabilities. As a result, the complained of access barriers are permanent in nature and

likely to persist.

        27.       The law requires that Defendant reasonably accommodates Plaintiff’s disabilities

by removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

        28.       Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        29.       Defendant has long known that sufficient contrast and skip navigation links are

necessary for individuals with visual disabilities to access its online content and services, and

that it is legally responsible for providing the same in a manner that is compatible with these

auxiliary aids.

        30.       Indeed, the “Department [of Justice] first articulated its interpretation that the

ADA applies to public accommodations’ websites over 20 years ago.” As described above, on

September 25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the

ADA, nor the Department’s enforcement of it, has changed this interpretation.

         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        31.       There is no DOJ administrative proceeding that could provide Plaintiff with Title

III injunctive relief.



                                                    11
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 12 of 16




        32.     While the DOJ has rulemaking authority and can bring enforcement actions in

court, Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiff with relief.

        33.     Plaintiff alleges violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

        34.     Resolution of Plaintiff’s claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on their Website, and (b)

whether Plaintiff can access the content and services.

                                 SUBSTANTIVE VIOLATIONS

                                             COUNT I

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

         35.    The assertions contained in the previous paragraphs are incorporated by reference.

         36.    Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7).

         37.    In the broadest terms, the ADA prohibits discrimination on the basis of a

disability in the full and equal enjoyment of goods and services of any place of public

accommodation. 42 U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiff

with full and equal access to their Website, they have violated the ADA.

         38.    In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

                                                 12
         Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 13 of 16




accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.

        39.    Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service or fails to provide a like

experience to the disabled person.

        40.    Auxiliary aids and services include, but are not limited to, audio recordings,

screen reader software, magnification software, optical readers, secondary auditory programs,

large print materials, accessible electronic and information technology, other effective methods

of making visually delivered materials available to individuals who are blind or have low vision,

and other similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        41.    In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ]

accommodations should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc.,

630 F.3d 1153, 1163 (9th Cir. 2011).

        42.    By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,

licensing, or other arrangements, in illegal disability discrimination, as defined by Title III,

including without limitation:

               (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;




                                                  13
          Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 14 of 16




                (b)     affording individuals with visual disabilities access to its Website that is

not equal to, or effective as, that afforded others;

                (c)     utilizing methods of administration that (i) have the effect of

discriminating on the basis of disability; or (ii) perpetuate the discrimination of others who are

subject to common administrative control;

                (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

                (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

        43.     Defendant has violated Title III by, without limitation, failing to make its

Website’s services accessible by screen reader programs, thereby denying individuals with visual

disabilities the benefits of the Website, providing them with benefits that are not equal to those it

provides others, and denying them effective communication.

        44.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available

without consideration of consumers who can only access the company’s online goods, content,

and services with screen reader programs.

        45.     Making its online goods, content, and services compatible with screen reader

programs does not change the content of Defendant’s Website or result in making the Website

different, but rather enables individuals with visual disabilities to access the Website Defendant

already provides.




                                                  14
         Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 15 of 16




       46.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction, will continue to cause harm to Plaintiff and other individuals with visual disabilities.

       47.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       48.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant took no action that was

reasonably calculated to ensure that its Website was fully accessible to, and independently usable

by, individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to, and independently usable by, blind individuals, and which

further directs that the Court shall retain jurisdiction for a period to be determined to ensure that

Defendant has adopted and is following an institutional policy that will in fact cause it to remain

fully in compliance with the law—the specific injunctive relief requested by Plaintiff is

described more fully in paragraph 11 above.

       (C)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (D)     Payment of costs of suit;



                                                  15
         Case 1:19-cv-01549-LJV Document 1 Filed 11/18/19 Page 16 of 16




       (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also

Access Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF

11) (same);

       (F)     The provision of whatever other relief the Court deems just, equitable and

appropriate; and

       (G)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: November 17, 2019                   Respectfully Submitted,

                                                   /s/ Benjamin Sweet
                                                   Benjamin J. Sweet
                                                   ben@sweetlawpc.com
                                                   THE SWEET LAW FIRM, P.C.
                                                   1145 Bower Hill Road, Suite 104,
                                                   Pittsburgh, PA 15243
                                                   Phone: (412) 742-0631

                                                   Jonathan D. Miller
                                                   jonathan@nshmlaw.com
                                                   NYE, STIRLING, HALE & MILLER, LLP
                                                   33 W. Mission Street, Suite 201
                                                   Santa Barbara, CA 93101
                                                   Phone: (805) 963-2345

                                                   Attorneys for Plaintiff Ian Foley




                                                 16
